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Stephanie@thetatarlawfirrn.com

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Attomeyfor Plainti]ereorge Mason

UNITE]) STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

   

GEORGE MAsoN E  U ij l §-»e ? -F W iSQ X) '-
i Plaintiff,_ CIer ACTION No.
l v. _ _ COMPLAJNT non VIOLATIONS 0F

‘ _ FAIR CREDIT REPORTING ACT
E `UIFAX INFORMATION

 

 

 

SE VIdCES LLC - DEMAND FOR .IURY TRIAL
331
GREEN TREE SERVICING
LLC
Defendant.
PREanvaRY STATEMENT

 

l. Defendant Equifax lnfolmation Services LLC (“Equifax”) a national
consumer reporting agency (“CRA”)‘ has been selling credit reports inaccurately
marking Plaintiff as deceased When it inaccurately reports a living consumer as
deceased Equir`ax makes it practically impossible for that consumer to access
credit, as it did With Mr. Mason. Equifax’s practice also harms the businesses that
purchase its reports; as such companies cannot process credit applications due to
the applicant’s lack of a credit score. There is no good faith rationale to explain
Equifax’s practice other than the generation of revenue It` Equifax actually
believed that Mr. l\/lason Was deceased, it had no legally permissible basis to sell

his report If Equifax believed Mr. Mason Was alive, i_t knowingly sold his report

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vvith a gross inaccuracy Moreover Equifax knows that identity thieves use the
credit information of truly deceased persons to commit credit naud. The source at
this information is a Green Tree Servicing, LLC (“Green Tree”) account reporting
on- Plaintiff” s Equifax credit report. Green Tree similarly has no procedure in place
to assure that it accurately reports a deceased notation to the consumer reporting
agencies E_quifax thus violated PlaintifFS rights under the Fair Credit Reporting
Act (“FCRA”) and the Consumer Credit Reporting Agencies Act (“CCRAA”) and
Green Tree violated the CCRAA as set forth belovv.
. 1 J_URISDICTION AND VENUE
2. Jurisdiction of this Court arises under 15 U S. C. § 1692k(d), 28
U.S.C. §§ 1331 and 1337, and supplemental jurisdiction exists for the state law
claims pursuant to 28 U.S.C'. § 1367. l
3. Venue lies in this district pursuant to 28 U.S.C. § 1391(1)).
7 _ _PART_};ES
_4. - Plaintiff George Mason is an adult individual residing in Qathedral
ciry, cA. ' '
5. Det`endant Equifax information Services LLC is a consumer reporting
agency that regularly conducts business in the Central District of California, and
vvhich has its headquarters and a principal place of business located at 1550
Peachtree Street Northeast,‘Atlanta, GA.
6. Defendant Green Tree Servicing LLC (“Green Tree”) is _a business
entity that regularly conducts business in the dentral District of California, and
vvhich has a principal place of business located at 345 St. Peter St., St. Paul MN.
FACTUAL ALLEGArroNs
Equifax’s Practices Concerning the Sale of Reports on the “Deceased”
7. Equifax sells millions of consumer reports (often called “credit

reports” or “reports”) per day, and also sells credit scores. 15 U.S._C. § 1681a(e).
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8. l Pursuant to the FCRA, Equifax must follow procedures which assure
that the reports it sells meet the standard of “rnaXimum possible accuracy.” l 155
u.s.C. § iesie(b). ` ' `

9. 7 17 Pursuant to the FCRA, Equifax must maintain reasonable procedures
to assure that reports are sold only for legitimate “permissible purposes.”. 15 ‘
U. S. C. §§ 1681e(a) & 1681b.

10. -Equifax places a “deceased” notation or marking on reports when it is
advised from any of its many data furnishing sources that a given consumer is
deceased _ 7 d

11. The furnishing sources identify “deceased” consumers by marking the
“status” of such consumer’s responsibility for any subject account with an _“X”
code in the ECOA field of an electronic data input format used in the credit
reporting industry, known as Metro or l\/letro 2.

12. Equifax does not request or require a death certificate from any of its
data sources which advise that a consumer is “deceased” before placing a
“deceased” mark on that 'con`sumer’s report

13. -Equifax does not request or require any proof from any data source
Which advises that a consumer is “deceased” showing that the consumer is, in fact,
deceased before placing a “deceased” mark on that consumer’s report.

14. Equifax does not independently verify with any source that a l
consumer is, in fact, deceased before placing a “deceased” mark on that

consumer’ s report.

15. A deceased notation is a very unusual marking upon a credit file or
credit report. j l
16. ln some cases, in order to assure accuracy, Equifax sends letters
and/or other communications to consumers when certain inforrnation‘that may be

considered suspicious or unreliable is furnished about said consumers to be placed
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Complaint and Jury Demand

 

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in their EquifaX credit iiles, such as in cases where consumers have a freeze or
fraud alert on their credit report, or in accordance with certain state laws§ such as
the consumer laws of Colorado. But Equifax has no similar procedure to' notify the
consumers (such as a next of kin or executor or administrator of the consumer’s
estate) when an"‘X” deceased code is furnished to Equifax to be placed in said
consumer’s credit file or report. l ` ` d ` l
17.' EquifaX regularly receives the l‘l)eath l\/las.ter File” from the Social
Security Adrninistration listing by social security number those consumers that the
government believes to be deceased But Equifax does not cross-referencethe
“X”. code received from ftirnishers with the Death l1\/laster F_ile in order to
determine whether any given consumer reported as deceased via a furnishing
sourceis also on the Death l\/.[aster File before selling a credit report about said
consumer, or at any time.
` 1581 Equifax will only use the Death Master File to sell additional products
for an additional fee which are designed to show whether `a given consumer is truly
deceased _ 7 a
\ 19. lndeed, Equifax employs no procedures at all which assure that a
consumer with a “deceased” mark on his/her report is, in fact, deceased before
placing the “deceased” mark on that consumer’s report and selling that report.
20. Even in instances where other data on the face of the consumer’s
report indicates that he/ she is not deceased, EquifaX employs no procedures which
assure that a consumer with a “deceased”` mark on his/her report is, in fact,
deceased before placing the “deceased” mark on that consumer’s report.
21.- Even in instances where the purportedly deceased consumer
communicates directly with Equifax, Defendant employs no procedures which
assure that a consumer with a “deceased” mark on his/her report is, in fact,

deceased before placing the “deceased” mark on that consumer’s report.
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` consumers complaining that their Equifax credit report had them erroneously

 

 

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22. Once a “deceased” mark is placed upon a consumer’s report, Equifar
will not calculate and will not provide a credit score for that consumer
, 23. Nevertheless, EquifaX routinely sells to third parties credit reports for
persons with a “deceased” mark on their reports with no credit score, despite a
request by thepurchaser of the report for a credit score for that consumer.
- 24. Upon Equifax’_ s reports with a “deceased” mark sold to third parties
Equifax never calculates or provides a credit score for that consumer. _
25. Equifax knows that third party credit issuers use a credit score in order
to process a given credit application - o
a 26. Equifax knows that many third party credit issuers require a credit
score in order to process a given credit application '
27 . EquifaX knows that consumers without'credit scores'are unable to
secure any credit from most credit issuers.
28. Equifax knows that living consumers are turned down for credit
specifically because Equifax rs reporting them as “deceased” and without a credit
score.
29. Equifaxr has been put on notice for years through consumer disputes
and lawsuits that living consumers are turned down for credit specifically because
Equifax is reporting them as “deceased” and without a credit score.

30. Equifax has received and documented thousands of disputes from

marked as “deceased.” -

31. Equifax knows that thousands of consumers are erroneously marked
as “deceased” on their EquifaX credit reports via an erroneous furnishing of the

“X” code, but said consumers are not on the Death Master File and are, in fact_

alive. '

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. “deceased” under any circumstances

 

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32. Nevertheless, Equifax employs no procedures which assure that a
consumer marked as “deceased” on one of Equifax’s reports is, in fact, deceased
33. Eve_n consumers who dispute the erroneous “deceased” status on their
Equifax credit reports continue to be erroneously marked as deceased unless the
furnishing source which provided the erroneous “X” code in the first instance
decides to change the code. l 7 c
34. Equifax has no independent procedure to change an erroneous
deceased status on its own and will merely parrot its himishing source in the case
of a reinvestigation into the accuracy of the deceased status upon a consumer’ s
report which reinvestigation was triggered by a consumer dispute
35. Nor does Equifax employ any procedures to limit or stop the

furnishing of reports to third parties for consumers which it has marked as

36. For years after a consumer s actual death, Equifax will continue to sell
credit reports about that consumer.
‘37. Equifax will only remove a deceased consumer s file from its credit
reporting database when it is no longer valuable to Equifax - meaning that nobody
is continuing to buy that report from Equifair. _
38. EquifaX charges third parties a fee for reports with a mark that a
consumer is deceased (“reports on the deceased”) as it would for any other report.
, 39. Equifax profits from the sale of reports on the deceased - .
40. Equifax has in its credit reporting database hundreds of thousands of
“deceased” tradelines corresponding to distinct credit files for individual
consumers that it has marked as “deceased.”
41. Equifax knows that truly deceased consumers do not apply for credit
42. Equifax knows that the credit information and reports of truly `

deceased persons are used by criminals to commit identity theft or credit fraud
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Complaint and lury Demand

 

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lndeed, identity theft using the personal identifying information of deceased
consumers is known to Equifax to be a common and major'source of identity theft

43. Equifax knows that identity theft and credit fraud are serious and
widespread problems in our society. o `

44.7 Equifax warns the relatives of truly deceased consumers that identity 7
theft can be committed using the credit reports and information of the deceased
and requires relatives to provide a death certificate or executorship papers among
other proofs,` before accessing the deceased consumer’ s credit information or
report. 7 _

415. Equifax has no similar death certificate, executorship paper, or any
other proof requirements for its data sources which report a consumer as deceased
or for the buyers of its reports which access the purportedly deceased consumer’s
information o 7

46. Indeed, Equifax sells reports on the deceased to third parties in an
automated fashion and without any specific or general certihcation that could
reasonably explain a “perrnissible purpose” for purchasing or using a (supposedly)
deceased consumer’ s credit history and!or report.

47. For consumers who are deceased, there exists no permissible purpose
under the FCRA for Equifax to ever sell their credit reports, absent a court order

48. Equifax knows that such reports contain a vast amount of personal
identifying and credit account information on the supposedly deceased consumer
information that can be used to commit identity theft or for other fraudulent
purposes 7

49. For a period of time since February 2013 Plaintiff had been marked by
Equifax as “deceased” on his Equifax credit report. The inaccurate information
includes but is not limited to being marked as deceased in connection with a Green

Tree account reporting on Plaintiff’ s Equifax credit report.
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' credit report marking Plaintiff as deceased to Total Watch Security on, or around

7 damages in the form of credit denial or loss of credit opportunity, credit

 

 

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50. Plaintiff is not deceased 1

51. Equifax did not" calculate or provide any credit score for or en
Plaintiff, even though it sold reports about him to third parties marking him as
“deceased.”

52. Plaintiff` was declined for service for alarm system for his home in

February 2013. Among other transactions known and unknown, -Equifax sold a

February 3, 2012 and Alert Centcr, lnc. on or around, February 5, 2012 when 7

P_lairi_tiff applied for service through those businesses

53. 111 or around February 2013,P1aintiff became aware that Green Tree
was reporting an account to Equifax which included a deceased status

54. Green Tree knew _or should have known that Plaintiff was alive.

55. 7 Green Tree did not maintain any procedure to confirm an erroneous
deceased status of an account prior to reporting such a status to the consumer
reporting agencies , l

56. l As a result, D`efendants_made it practically impossible for Plaintiff to
obtain service or credit, and Plaintiff was indeed turned down for service for alarm
system for his home in February 2013 as a result of Defenda_nts’ erroneously

reporting Plaintiff as deceased
57. As a result of Defendants’ conduct, Plaintiffs have suffered actual

defamation, harm to credit score and emotional distress including anxiety,

frustration, embarrassment and humiliation

58_. At all times pertinent hereto, Defendants were acting by and through
their agents servants and/or employees who were acting within the course and

Scope of their agency or employment, and under the direct supervision and control

of the Defendants herein.

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7 is defined by 15 U S. C. § l681a(c).

' may be permitted by law.

 

_“consumer reports” as that term is defined by 15 U.S.C. § l681a(d).

 

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5 9. At all times pertinent hereto, the conduct of the Defendants, as well as
that of their agents servants and/or employees,` was intentional, willful reckless
and in grossly negligent disregard for federal and state law and the rights of the
Plaintiff herein. '_ l 7 , _
' iCoUNT I _- VIoLA'rIoNs OF 11er FCRA

(PLAINT[FF v. EoUIFAX)

60._ Plaintiff incorporates the foregoing paragraphs as though the same
were set forth at length herein. l

6l. At all times pertinent hereto, Equifax was a “person’ ’and a “consumer '

reporting agency” as those terms are defined by 15 U.S.C. § 1681.a(b) and (f).

62. ' At all times pertinent hereto, Plaintiff was a “consumer” as that term
63. At all times pertinent hereto, the above-mentioned credit reports were

64. Pursuant to 15 U.S.C. § 1681i1 and l5- U.S.C. § 16810, Equifax is
liable to the '-Plaintiff for willfully and negligently failing to comply with the
requirements imposed on a consumer reporting agency of information pursuant to
15 usc § issie(b). '

65. The conduct of Equifax was a direct and proximate Cause, as well as a
substantial factor, in bringing about the serious injuries actual damages and harm
to the Plaintiff that are outlined more fully above land`, as a result, Equifax is liable
to the Plaintiff for the full amount of statutory, actual and punitive damages along

with the attorney’s fees and the costs of litigation, as well as such further relief, as

Complaint and lury Demand

 

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Couis’r tI-- VroLArroNs Or Tnn CCRAA
(PLArNrrsr v. EoutsAX 1151
66. Plaintiff incorporates the foregoing paragraphs as though the same
were set forth at length herein

67. EquifaX is a “consumer reporting agency” as defined by Cal. Civ.

Code § 1785. 3(d). _
68. Plaintiff is a “”consumer as that term is defined by Cal. Civ Code §

1785.3(15).

69. The above~mentioned credit reports were “consumer reports” as that
term is defined by Cal. Civ. Code § 1785 3(0). 7
70. Pursuant to Cal. Civ. Code § 1785. 31 Equifax 1s liable for violating
the CCRAA by failing to follow reasonable procedures to assure “maXimum
possible accuracy” of the reports it sold, in violation of Cal. Civ, Code §
17 85.14(b) ' _
71. The conduct of Equifax was a direct and proximate cause, as well as a
substantial factor, in bringing about the serious injuries actual damages and harm
to the Plaintiff that are outlined more fully above and, as a result, EquifaX is liable
to the Plaintiff for the full amount of statutory, actual and punitive damages along
with the attorneys’ fees and the costs of litigation, as well as such further relief, as
may be permitted by law. n 7
CoUNT III -» VIoLATIoNs ()F THE CCRAA
(PLAINTIFF v. GREEN TREn) d
7 2. Plaintiff incorporates the foregoing paragraphs.as though the same
were set forth at length herein. ' 4
73. Green Tree is a “person” as defined by Cal. Civ. Code § 1785.4(]').

74. Green Tree is a “furnisher” of consumer and credit information as that

term is uses in Cai. civ. Code § 1735.25(&).
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Complaint and Jury Demand

 

 

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75. §Plaintiff is a “consumer” as that term is defined by Ca_l. Civ. Code §
1735.3(b). ‘
76. The above-mentioned credit reports were “consumer reports” as that
term is defined by Cal. Civ. Code § 1785. 3(0).- 1
77 . Pursuant to Cal. Civ. Code § 1785.31, Green Tree liable for violating
the CCRAA by furnishing inaccurate information to the consumer reporting
agencies that it knew, -or should have known, was false, in violation of Cal. ‘Civ.
Cod¢§ 1785.25(@,). l `
ll 78. The conduct of Green Tree was a direct and proximate cause as well
as a substantial factor, in bringing about the serious injuries actual damages and
harm to the Plaintiff that are outlined more fully above and, as a result, Green Tree
is liable to the Plaintiff for the full amount of statutory, actual and punitive
damages along with the attorney’s fees and the costs of litigation, as well as such
further relief, as may be permitted by lawi
JURY TRIAL DEMAND
79.P1aintiff demands trial by jury ron all issues so triable.
l PRAYER FoR RELIEF
WHEREFORE, Plaintiff respectfully prays that relief be granted as follows
(a) Actual damages
(b) _ Statutory_ damages
(c) Punitive damages
(d) Costs and reasonable attorneys’ fees; pursuant to 15

u.s.o. §§ 163111 ana 16810 and cat Ctv. codes 1785.19(b); and

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Complaint and Jury Demand

 

 

‘ .Case 5 13-cV-OO77'9-SVW-SP Document 1 Filed 04/29/13 Page 12 of 16 Page |D #:17

(e) Such other and further relief as may he just and proper.

Respectfully Submitted,
TATAR LAWRM APC

 

 

Attorney for Plaintiff .

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DATE: April 25 , 2013

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Case 5:13-cV-OO779-SVW-SP Document 1 Filed 04/29/13 Page 13 of 16 Page |D #:18

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT ()F CALIFORNIA

NOTICE ()F ASSIGNl\/IENT TO UNITED STATES MAGIS'I`RATE JUDGE FOR DISCOVERY

This case has been assigned to District Judge Stephen V. Wilson and the assigned
discovery Magistrate Judge is Sheri Pym.

The case number on all documents filed with the Court should read as follows:

EDCv13- 779 svw (SP::)

Pursuant to General Order 05-07 of the United States Distlict Court for the Central
District of California, the Magistrate Judge has been designated to hear discovery related
motions

All discovery related motions should be noticed on the calendar of the Magist;rate Judge

NOT|CE TO COUNSEL

A copy of this notice must be served with the summons and complaint on all defendants (if a removal action is
rlled, a copy of this notice must be served on all plaintiffs).

Subsequent documents must be liled at the following location:

Mstem Divislon [_] Southem Division [_] Eastern Division
312 N. Spring St., Rm. G-8 411 West Fourth St., Rm. 1-053 3470 Twe|fth St., Rm. 134
Los Ange|es, CA 90012 Santa Ana, CA 92701-4516 Riverside, CA 92501

Failure to file at the proper location will result in your documents being returned to you.

 

CV-18 (03)'06) NOT|CE OF ASS|GNN|ENT TO UN|TED STATES MAG|STRATE JUDGE FOR DlSCOVERY

Case 5:13-cV-OO779-SVW-SP Document 1 i|ed 04/29/13 Page 14 of 16 Page |D #:19

stephanie R. rear (237792)
TATAR LAw FI_RM, APc

3500 West Olive Avenue, Suite 300
surbani<, cA 91505

Telephone: (323) 744-1146
Facsimiie; (sss) 773-_5695

_ UNITED STATES DISTRICT COUR'][1
CENTRAL DISTRICT OF CALIFORNIA

George Mason . cAsE NUMBER

 

PLAIN_rIFF(s)
v.

 

Equifax Information Services LLCl and Green Tree
Servicing LLC '

DEFENDANr(s).

 

T(); DEFEN])ANT(S); Equifax Information Services LLC and Green Tree Servicing LLC

 

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it), you
must serve on the plaintiff an answer to the attached |chomplaint |:| amended complaint
|:l counterclaim l:l cross-claim or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer

or motion must be served on the plaintiff’ s attorney, S“E€Dharli€ R. Tatal‘ , whose address is
3500 West Olive Ave., Suite 300, Burbank, CA 91505 . lf you fail to do so,

judgment by default will be entered against you for the relief demanded in the complaint You also must file
your answer or motion with the court.

irs 2 s ass
Dated:

 

 

 

(Seal Ofthe Court)

[Use 60 days ifrhe defendant is the Unr'ted States or a Um'ted Stazes agency, or is an ojicer or employee ofrhe Unired Srates. Allowed
60 days by little 12(61)(3)].

 

CV-(}lA (121'07) SUM]VIONS

CHS€ 5-13 _C\/inniin§nt\tts%$lsilh@@urnenm camdmlasnacrnnennmnm Page lo # 20

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l {a)` §LA§£TIFFS (Check box if you are reprasenting yourself |:l}

George Mason

CIVIL C{)VER SHEET

DEFEN DANTS

Equifax information Serviees LLC and Green Tree Servicr`ng LL_C

 

-(b) Attorneys (Firm Name, Address and Telephone Numbcr. I_fyou are representing

yourself provide same )

Stephanie 11 'l`atar , TATAR LAW FIRM, APC
3500 West Olive Avenue, Suite 300
Burbank, CA 91505 (323) 744-1 146

 

Attomeys (If Known)

 

11. BAsrs 011 nmrsi)lcrroN name an X in one bex enly.)

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l:l 2 U.S. Governinent Defendant

Govemment Not a Party)

of Part;ies in Iteni III)

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IL‘{. CITIZENSH]_P OF PR]NCIPA-ld PARTIES - For Diversity Cases Only
(Place an X in one box for plaintiff and one for defendant)

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IV. ORIGlN (Place an X in one box only.)

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Proceeding

Suite Court

Appellate Court

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V. REQU`ESTED IN COMPLA]NT: JURY DEMAN"D: `MYes l:| No (Checlc ‘Yes’ only if demanded in complai_nt.) `

cLAss AciioN under F.RC.P. 23: m Yes u(Ne '

ut'MoNnY nEMANnED rN coMPLAINT: s

l:| 57 Trausferred from another district (specify): l:| 6 Multi-.`_

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Dist:rict
Litigalion

7 Appeal to District
Judge from
Magistrate Judge

 

VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity_)
Fair Credit Reporting Act, 15 U.S.C. §§ 1681, et seq. `
VII._ NA'I'URE OF SUIT (Place an X in one box only.)

 
      

 

 

  
 

 
 

 

 

 
 

 

 

 

 

    

 
 
 
 
 

 
 

 

 

 

 
 

 

 

 

 

 

 

 

 

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CIVIL CO`VER SHEET Page 1 of 2

CV-71 (05/08)

CIVIL COVER SH`EET

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Vlll(a'}§i IDENTICAL CASES: Has this action been previously filed in this court and dismissed, remanded or closed? |E/No l;l Yes
lf yes, list case number(s): ' 1

Vlll(h). RELATED CASES: Have any cases been previously filed in This court that are related to the present case? l§{No [l Yes m
lr` yes, list case number(s): ' _ _

 

Civil cases are deemed related if a previously filed case and the present case:
(Check all boxes_that spply) l;l A. A.risc from the same or closely related transactions happenings, or events; or
[] B. Call for determination of the same or substantially related or similar-questions of law and fact,' or
|:|' C. For other reasons would entail substantial duplication of labor if heard by different jnd.ges; or
El D. lnvolve the same patent, trademark or copyright, and one of the factors identihed above in a, b or c also is present

 

IX. VENUE: (When completing the following im°ormation, use an additional sheet if necessary.)

(a)- List the County in this District; Califomia County outside of this Dislriot; State if other than California; or Foreign Cou.utry, in which EACH named plaintiff resides
l:l Check here if the government its agencies or employees is a named plaintili`._ If this box is checked, go to item {b).

California County outside of this Distriet; State, if other than Cali§ornia; or Foreign Couno:'y

 

 

County in this Dis|rict:*
' Riverside

 

 

 

(b_) hist the County in this District; Ca].ifornia County outside of this Dislrict; State if other than California; or Foreign Country, in which EACH named defendant resides
l`_'l Check here if the government, its agencies or employees is a named defendant If this box is checked go to item (c). -

 

Cou.nty in this District:* ' . _ ' California County outside of this District; 8tate, if other than-Califoraia; or Foreign Couutry
GA; MN `

 

 

 

(c)< List the Connty in this Disnict; California County outside of this Disn‘ict; State if other than Ca_lifornia; or Foreigo Country, in which EACI-I claim arose.
Note: 111 land condemnation cases, use the location of the tract of land involved '

 

Co\inty in this District:‘ California County outside of this District; State, if other than California.; or Foreign Com:tlry

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Notlce to Counsell'Parties: The CV»TI (.TS-44) Civil Cover Sheet and the information conwme .---.-- t '

 

 

 

 

 

  
     

’~' Los Angeles, Orange, San Bernardino, Riverside, Ventura, Santa Barbara, or San Luis Obispo Count.it:s
Note: ln land condemnation cases use the location of the tract of land involved -

 

 

X. SlGNATURE OF A'ITORNEY (OR PRO PER): d /

     

_t 71 a .: - - ¢' ace nor supplementthe filing and sewice of pleadings
or other papers as required by law. This forro, approved by the ludicial Conference of the Unitcd States iu September l 974, is required pursuant to Local Rr_lle 3~1 is not filed
-but is used by the Clcrk of the Court for the purpose of statistics, venue and initiating the civil docket sheet (F or more detailed instructions, see separate instructions sheet_)

Key to Stau'stical codes relating to Social Security Cases:

Nature of Suit Code Abbreviation Substautive Statemeut of Cause of Actiou

861 HlA All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended
Also, include claims by hospitals, skilled nursing facilities, etc,, for certification as providers of services under the
program (42 U.S.C. 1935FF(b))

862 BL All claims for “Black Lung” benefits under Title 4, Part B, of the Federal Coal Mioe Health and Safety Act of 1969_
(30 U.S.C. 923) , ‘ .

863 DIWC ` All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Securlty Act, as
arnended; plus all claims filed for child’s insurance benefits based on disability. (42 U_S.C. 405(g))

863 DIWW All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Seeurizy
Act, as amended {42 U.S.C. 405 (g))

864 SSlD All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Secun'ty
Act, as amended

865 RSI All claims for retirement {old age) and survivors benelits under Title 2 of the Social Security Act, as amended (42
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